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    CNN Special Reports

    CNN Special Report: Inside The QAnon Conspiracy. Aired 10-11p ET


    Aired January 31, 2021 - 22:00 ET

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    BE IN ITS FINAL FORM AND MAY BE UPDATED.



    [22:00:39]


    ANNOUNCER: The following is a CNN special report.


    ANDERSON COOPER, CNN HOST (voice-over): On January 6th, QAnon came out of the shadows. What had
    started as an online conspiracy theory had quickly become a kind of cult. For some QAnon followers, this was the
    day they've been waiting for.


    UNIDENTIFIED MALE: I'm here because Q sent me.


    COOPER: They made their presence known. The crowd of Trump supporters in Washington that day, the mob
    stormed the capitol, many QAnon supporters were on the front lines.


    UNIDENTIFIED MALE: Freedom!


    COOPER: At least one supporter died that day, this woman, Ashley Babbitt, tried to break through a door inside
    the capitol. She was shot to death by a capitol police officer. She was a 14-year veteran of the Air Force and the
    Air National Guard.

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    This is her in a QAnon shirt at a Trump rally in September.


    How does a veteran fall into deranged conspiracy cult?


    To understand what QAnon is, you have to go down rabbit hole of suspicion and fantasy, mixed with age-old anti-
    Semitic conspiracy theories, and resentments.


    UNIDENTIFIED MALE: We will not cow down (ph) to evil.


    COOPER: Some Q believers liken it to a scene in "The Matrix", when the truth of the world is revealed to those
    who take the right pill.


    The truth, according to Q, was that then President Trump was a kind of messiah. Some Q followers believed he
    might actually been a time traveler or being from another planet. They believe Trump was secretly fighting a holy
    war against the deep state and a cabal of Democrats and celebrities who Satan-worshipping pedophiles, molesting
    children and harvesting their blood.


    It sounds ludicrous, but not if you believe in QAnon.


    And once you believe, you see the signs everywhere. DONALD TRUMP, PRESIDENT OF THE UNITED
    STATES: Maybe it's the calm


    before the storm.


    REPORTER: When's the storm?


    TRUMP: Could be calm before the storm.


    REPORTER: What storm, Mr. President?


    TRUMP: You'll find out.


    COOPER: Those vague words about the storm spoken by then President Trump at the White House in October 5,
    2017 are often cited as the beginning of what we now know as QAnon.

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    TRUMP: Could be calm before the storm.


    REPORTER: What storm, Mr. President?


    TRUMP: You'll find out.


    ADRIENNE LAFRANCE, EXECUTIVE EDITOR, THE ATLANTIC: This at a time when Iran was in the news.


    TRUMP: Thank you, everybody.


    LAFRANCE: There was a lot of tension around relations between the United States and Iran. So, a lot of focus on
    that. And the president said something that was cryptic and strange about a coming storm and how this moment
    was the calm before the storm.


    And the reporters in the room sort of seized on that with Iran in mind and asked sort of what storm, Mr. President?
    What are you talking about? And he was very sort of, you know, you'll see. Wait and see.


    KEVIN ROOSE, TECHNOLOGY COMMUNIST, NEW YORK TIMES: Q really took off after this remark that
    President Trump made. They interpreted that as a coded signal that something called the storm was coming. And
    the storm, in their minds, was this day of reckoning.


    LAFRANCE: And that became one of the foundational bits for Q, which started posting on an image message
    board a couple weeks later.


    COOPER: On October 28th, someone who later called themselves Q Clearance Patriot wrote in an online forum
    called 4chan, which was known for anonymous or anon posts.


    Q clearance patriot claim to have a high-level security clearance, called Q clearance, which comes from the
    Department of Energy.


    ROOSE: This was not the first anon that had claimed to high-ranking government insider on 4chan. But Q
    Clearance Patriots said, basically, I am a member of the Trump administration. I have this Q clearance, this high-
    level intelligence clearance, and I'm providing you with secret information about what's really happening behind
    the scenes in Washington. COOPER: Q claimed Hillary Clinton would soon be arrested and the

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    military and National Guard would be activated to quell mass riots. The post incorporated other conspiracy
    theories that had been online for years, claims that global elites, high level Democratic leaders and celebrities were
    all working to sex traffic children.


    ROOSE: They, you know, kidnap and traffic and torture and kill children for fun, as part of a satanic ritual, but
    also in order to harvest a life extending chemical called adrenochrome from their blood.


    [22:05:18]


    And that President Trump was recruited by the military in order to bring this cabal down and bring its members to
    justice.


    And that he has been secretly working to eliminate the deep state and to find and arrest and punish the members of
    this global cabal.


    COOPER: Elizabeth Neumann served in the Department of Homeland Security when QAnon first emerged, and
    said the claims were so preposterous, it was hard to take them seriously.


    ELIZABETH NEUMANN, FORMER DHS COUNTERTERRORISM OFFICIAL: I think most of us, you know,
    just on its face dismissed it, because, first of all, a Q clearance has nothing to do with the things he was talking
    about. And second of all, having been serving in multiple administrations, holding very high security clearances,
    working in the White House and Department of Homeland Security, none of those conspiracies, whether it's Q or
    any of those other things have any merit. They're completely baseless. None of us foresaw this catching fire the
    way that it did.


    COOPER: The false sex trafficking claims targeting Hillary Clinton actually dated back to 2016, the conspiracy
    theory that came to be known as pizza-gate.


    LAFRANCE: After the WikiLeaks email hack in 2016, there was a database where people could just look through
    all of these emails that WikiLeaks dropped on the Internet. Among them, John Podesta, then Hillary Clinton's
    campaign chair's emails. Among them, you could find references to a pizza shop.


    They started this rumor that comment was secretly a front for child abuse, and that, you know, these emails that
    were sort of, like, what sort of pizza should we order? These conspiracy theorists started saying that pizza and

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    cheese and pasta were code words referring back to child sex abuse. Of course, there's no evidence of that.
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    UNIDENTIFIED MALE: Pizza-gate is a conspiracy theory.


    UNIDENTIFIED FEMALE: Hmm.


    UNIDENTIFIED MALE: You don't believe it's a conspiracy theory?


    UNIDENTIFIED FEMALE: No, it's not. Pizza is a code word for child pornography. Cheese pizza, child
    pornography. UNIDENTIFIED MALE: I love you all more than anything in this world.


    COOPER: Believing those false claims, a man named Edgar Welsh (ph) showed up at Comet Ping Pong armed an
    AR-15. He claimed he come to rescue children he believed were locked in the basement, as part of a sex
    trafficking ring.


    NEUMANN: It ended up being handled where the police were able to subdue the suspect. He did have weapons on
    him. It could have turned violent. But the irony of that whole story was that pizza parlor didn't even have a
    basement.


    LAFRANCE: This to me is emblematic of how much real world danger these conspiracy theories have caused. Bu
    at that moment people backed away from pizza gate which set the stage for new conspiracy theories to take its
    place, (INAUDIBLE) belief from its story. And that's where we get Q.


    COOPER: Some of Q's conspiracy claims go much further back than pizza- gate. They're actually based on age ol
    racist and anti-Semitic beliefs. The idea of elites harvesting the blood of children was a notion the Nazis pushed.
    They accused Jews of doing the same thing.


    LAFRANCE: There are elements of this narrative you can find in Crusades era conspiracy theorizings. Even
    during the black death in Europe centuries ago, you know, you had conspiracy theories then that said the Jews
    were spiking the water with poison frogs and lizards and you get a same sense of that anti-Semitism very much
    within Q.


    And so, this is a very modern conspiracy theory because it's enabled by the social web. In other ways, it goes to
    most ancient and dark biases and bigotry in human history.


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    COOPER: Over the months and years, Q continued posting vague clues, often in the form of questions and riddles
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    They became known as Q- drops. Followers would try to decipher the meaning of them, sort of catch phrases
    became commonly used among believers.


    UNIDENTIFIED FEMALE: When we go one, we go all.


    LAFRANCE: There's a rallying cry that is, where we go one, we go all, which is an expression of solidarity.


    ROOSE: They call each other patriots almost universally.


    LAFRANCE: There is this reference to the calm before the storm, this idea that the storm is this moment when a
    mass number of arrests will take place.


    ROOSE: Everything is sort of in this like military-esque code. So, you know, POTUS is always used instead of
    calling him President Trump. Or Hillary Clinton in the QAnon drops is never Hillary Clinton, she's always HRC.


    [22:10:07] LAFRANCE: There's the great awakening, which refers to this period after the storm when q believers
    believe they will be a society of spiritual awakening.


    ROOSE: There are also things like, yeah, enjoy the show, would be sort of like watch the fireworks in the coming
    days.


    LAFRANCE: Similarly, it's trust the plan.


    ROOSE: Trusting the plan is an important part of QAnon belief, because there's sometimes the predictions don't
    pan out that Q said would happen don't.


    COOPER: It's not clear if anything Q had predicted has come true. The first post said that Hillary Clinton was
    about to be arrested. Q also predicted other dates when this nonexistent global cabal would be exposed. There was
    supposed to be mass arrests of deep state actors and martial law, all fantasy.


    But it didn't seem to matter to Q followers. They either ignored the inconsistencies or explained them away.


    ROOSE: Q had made reference to D-5. That was interpreted as a sign that something big was going to happen on
    December 5th. Some report was going to be unveiled that unmasked the deep state conspiracy, and then turned out

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    to be the day of George H.W. Bush's funeral. And so QAnon believers convinced themselves that D-5 was a
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    reference to the fact that on December 5, at this funeral, when all these world leaders, including former presidents
    and people who are allegedly part of this kabal would be in attendance in the same building, that is going to be
    when the mass arrests happened.


    Obviously, that didn't happen. There were no mass arrests. And so, instead of admitting like, we were wrong,
    maybe this D-5 thing didn't happen, they sort of reimagine the claim. They said maybe it's December 7 actually. So
    therefore, the real date is sometime in the future. And that's constantly happening with QAnon.


    LAFRANCE: So this has been one of the more mind melting aspects of reporting on Q for me that you talk to
    people who are true believers.


    UNIDENTIFIED MALE: We are Q.


    LAFRANCE: And you can confront them with reality. You know, evidence of here's what happened. We both saw
    this with our own eyes. Why do you still believe?


    And there's just an utter rejection of reality and a total faith in Q, with no sort of attention or regard to the fact.


    COOPER: Jitarth Jadeja says he was a true believer in QAnon until about a year and a half ago. He explains the
    passion many Q followers still have.


    JITARTH JADEJA, FORMER QANON BELIEVER: This is to them, they believe this. And this is not like a battl
    between, you know, Marxists and capitalists, between authoritarians and libertarian, between nations. This is a
    battle between good and evil for them.


    The cabal is just evil. They don't want to just control you or kill you. They want to take your soul. They want your
    soul, your family's soul, your daughter's soul, your son's soul, your brother's, mother's, whatever.


    They want -- they want it for all eternity. Like the stakes for them could literally not be more existential. Well,
    imagine if someone believed that, imagine if you believed that, what would you do? What wouldn't you do?


    COOPER: At the center of that belief is Donald Trump. To QAnon, he's a savior. They believe he supports them
    through hidden signals and signs when he's out of public. The former president did all he could to keep their
    beliefs alive.

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    TRUMP: I do know they are very much against pedophilia. They fight it very hard.


    (END VIDEOTAPE)


    (COMMERICAL BREAK)


    [22:17:27]


    SAVANNAH GUTHRIE, NBC NEWS ANCHOR: Let me ask you about QAnon. It is this theory that Democrats
    are a satanic pedophile ring and that you are the savior of that. Now, can you once and for all state that that is
    completely not true?


    TRUMP: So --


    GUTHRIE: Can you disavow QAnon in its entirety?


    TRUMP: I know nothing about QAnon.


    GUTHRIE: I just told you.


    TRUMP: I know very little. You told you but what you tell me that doesn't necessarily make it a fact. I hate to say
    that. I know nothing about it.


    I do know they are very much against pedophilia. They fight it very hard.


    COOPER: This was President Trump on NBC news this past October. He repeatedly claimed he didn't know
    anything about QAnon, but he also praised them, giving Q followers encouragement.


    These Q supporters in Arizona cheered on President Trump's words to NBC. Many q followers believe Trump is
    on their side and signals his support for them in public with hidden messages and signs.


    ROOSE: So QAnon believers, they study all of Trump's public appearances with this extreme rigger, looking for
    these signs that he supports them, that he's listening to them, that he's sending them coded signals. So, for example
    every time he says the number 17 or uses it in any way, they take that as a sign that he's talking to them, because Q

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    is the 17th letter of the alphabet.
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    TRUMP: Seventeen. Seventeen. Seventeen.


    ROOSE: I heard QAnon believers saying Trump makes these signs with his hand when he talks that looks like he's
    doing a Q they'll look at a pink tie and say oh, pink is hospital code for a child being abducted. So, clearly, he's
    sending a signal about this global cabal of pedophiles and sex traffickers.


    COOPER: This former QAnon follower says many believers' faith in Trump is limitless.


    Do you believe that President Trump was working to attack this global cabal of Satan-worshipping pedophiles? I
    mean, you believed he was actually deeply involved?


    JADEJA: Oh, yeah, of course I believed that. I believed that he'd been charge up by military intelligence, he was
    an avatar, right? There are people who believe he's a time traveler. There are people who believe he's Jesus.


    So, yeah. Yeah, 100 percent.


    [22:20:03]


    COOPER: President Trump clearly knew QAnon followers supported him. He said as much in August of 2020
    when asked about them by a reporter.


    TRUMP: I understand they like me very much, which I appreciate.


    NEUMANN: It's hard for me to envision that nobody at any point briefed him. Problem something the FBI
    director would normally brief a president on.


    And here's the key, especially since in their movement, he's a messianic figure for them. This idea that he's the
    savior, he will fix things. He's going to hold Hillary Clinton accountable, and make sure that the children are
    saved.


    So I'm looking at this and saying, we need to make sure he's aware so that he's a little careful with his speech so
    that it doesn't unnecessarily rile them up.


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    COOPER: How did a conspiracy cult based on lies and bizarre accusations spread so fast? It wouldn't have
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    happened without the help of social media.


    LAFRANCE: In earlier times, the main place you would find conspiracy theories is letters to editors of
    newspapers. You'll hear people arguing that the weather is controlled by the government or aliens have arrived and
    living among us. And now, just because of the mega scale of platforms like Facebook and to a lesser extent
    Twitter, the degree to which this was able to spread on a global scale, it could not have happened without the socia
    web. NEUMANN: The way in which it went mainstream is they turned these


    concepts into memes, and things that were very shareable on sites like Facebook and Twitter, that capture people's
    interest, there's a reason they call it a rabbit hole, right?


    So the cause, in particular, save the children. They took that slogan and co-opted it and made it feel comfortable
    for a mainstream person to be like, yes, I want to help save the children. They take one click and learn some things
    and click another and do some searches. And all of a sudden, they've spent hours and they have gone down this
    rabbit hole to a place where they've been exposed to some darker theories that are not as simple as the meme they
    may have initially found.


    COOPER: Experts say the save the children hashtag proved for a powerful recruitment tool for QAnon. Save the
    children rallies have been seen all over the country.


    UNIDENTIFIED FEMALE: The fact that you guys are attacking and making us look like we're crazy, when we're
    just trying to save some (EXPLETIVE DELETED) children pisses me off.


    COOPER: QAnon spread was also made possible because of the cryptic nature of the so-called Q-drops. They're
    vague, seemingly presented as puzzles that loyal followers could solve or decode.


    ROOSE: Once a new Q post appears, there's this apps, these Q-drop apps that people use to get alerted every time
    And immediately, they'll take screen shots and post them in Facebook groups and chat rooms and they'll start
    trying to kind of decipher it and make sense of it all to figure out how it connects to the larger QAnon narrative.


    LAFRANCE: These clues that Q leaves are written in really ambiguous, cryptic terms, very riddle-like, which is
    part of what people are drawn to. People want to do the research. You hear this again and again. People want to do
    their own research and pore over these clues and interpret them.


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    COOPER: This is an example of a Q-drop from September 2018.
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    ROOSE: It starts with an all-caps line that says "panic in D.C." Then it says, LL talking equals truth reveal tarmac
    BC.


    So this is basically a reference to Loretta Lynch, the former attorney general under President Obama, in some sort
    of truth that Q was saying was revealed in a conversation with BC, which is Bill Clinton, tarmac.


    Then it continues, LL talking equals truth revealed Comey, HRC email case. Comey is, of course, James Comey,
    the former FBI director. LL talking truth equals truth reveal Hussein, instruction, re: HRC email case. LL talking
    equals truth to reveal Brennan, no name coord to frame POTUS.


    FISA equals start. FISA brings down the House.


    When do birds sing? Q.


    ROOSE: So as with most Q-drops, this one doesn't have a clear hint or narrative. It's coded. It's written in this
    cryptic language.


    But basically, the message that people take from this is there was some nefarious link between Loretta Lynch, the
    former attorney general, this Clinton email case, John Brennan, the former CIA director, and a plot against
    President Trump.


    [22:25:04]


    When do birds sing is sort of a cryptic reference to like, you know, when do people confess to their crimes? When
    does this storm happen and this house of cards that this cabal has erected come crashing down?


    So when you're part of QAnon, you are not just absorbing things that people tell you.


    You are out there, you are digging, you are trying to put together pieces of this puzzle. And then you are
    congratulated for finding stuff. It's almost like a video game.


    COOPER: A video game based on lies, played by hundreds of thousands of followers around the world.


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    ROOSE: One of the things I learned spending time in QAnon chat rooms and forums and Facebook groups is that
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    this is really social for them. This is a kind of collaborative, truth seeking effort, and it's a community.


    They make friends with other QAnon believers. They congratulate each other on their birthdays and they wish
    each other happy holidays and talk about how their grand kids are coming to visit next week. And for a lot of
    beliefs, this is their primary social life.


    So they get more out of it than just politics. They get affirmation. They get friendships. They get meaningful
    missions that they feel they can be part of.


    LAFRANCE: What surprised me was the number of people I met who, yes, they were pro-Trump, but more than
    that, they were driving a sense of spiritual satisfaction from Q. There was a lot of -- I heard from people, they felt
    sense of peace or serenity in their lives they didn't have before they started getting into Q.


    And that's what really led me to understand this isn't a political movement. It isn't only a conspiracy theory, but
    really it takes on the contours of a baby religion born on the Internet.


    It raises questions sort of about like what's a religion versus what is a cult versus what a conspiracy theory versus
    what's a mass delusion?


    And I think you see pieces of all of those things in Q.


    COOPER: Jitarth Jadeja says he was a QAnon follower for nearly two years, but he says after watching Q's
    predictions repeatedly fail and realizing Trump's so-called signals to QAnon weren't signals at all, he's now
    realized it was all made up.


    JADEJA: I would say that Q is kind of like Jesus, and Trump is kind of like the god figure, right? For me
    personally, the part that was really appealing was that this kind of gave me some joy, a sense of optimism. You
    know, I was looking at the world and it was just so chaotic, and so, everything was so negative. And there were
    just bad things happening all the time.


    And I just -- the idea that we could somehow make the world a better place for all of humanity, just really gave me
    a sense of optimism. So that was the irony of the situation that my life was so sad and I was so sad that I was
    looking to Q for joy, as well as a sense of belonging, just like any cult, you know? They prey on the vulnerable and
    disaffected. That's exactly what happened.

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    COOPER: Considering some believe they were fighting to save children, it's no surprise this online conspiracy
    could result in real world violence.


    (COMMERCIAL BREAK)


    [22:32:14]


    UNIDENTIFIED FEMALE: Q is -- is a -- a real thing.


    UNIDENTIFIED MALE: Bill Clinton is a pedophile.


    UNIDENTIFIED FEMALE: They're killing our children and using their blood and stuff, and using their blood
    sacrifices on Hollywood.


    COOPER: The bizarre and false theory that a global cabal of Satan worshipping Democratic leaders and celebritie
    sort of trafficking in children and harvesting their blood is at the core of the QAnon conspiracy theory. But there
    are many other far out claims made by Q followers.


    ROOSE: It is branched in many different directions. And now, you're find QAnon believers talking about
    everything from the Illuminati to aliens ins Area 51, to control of the banking system by George Soros and other
    shadowy, mostly Jewish financiers they believe are in power.


    LAFRANCE: I heard everyone from the idea that John F. Kennedy Jr. is still alive and secretly supports Trump, to
    John F. Kennedy, Jr. was assassinated by Hillary Clinton.


    UNIDENTIFIED MALE: OK. Well, when it comes to Hillary Clinton, all you have to do is looking at the emails,
    and the way that she's involved in spirit cooking with Marina Abramovic who is a known satanic witch. Hillary
    Clinton is a satanic witch.


    COOPER: You may recognize this guy, so-called QAnon shaman. This is him at a rally in Arizona two days after
    the election. His name is Jacob Chansley. He's been seen at other Trump rallies, as well.


    JACOB CHANSLEY, QANON SHAMAN: Freedom! COOPER: On January 6th, he was front and center in the
    attack on the

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    capitol. Chansley been arrested and charged for his alleged role in the riots. Prosecutors say, among other things,
    he obstructed a police officer. They also say he told the FBI that Vice President Mike Pence was a child trafficking
    traitor. Chansley's lawyer says he wasn't violent, he didn't cross police lines.


    LAFRANCE: We have evidence that this is a dangerous conspiracy theory. Most recently on January 6, when we
    saw people brandishing Q signs and perpetrating Q's message as they stormed the U.S. capitol, there was evidence
    before that, that Q was dangerous. But it is abundantly clear this is a dangerous movement.


    COOPER: This man running after a Capitol Hill police officer is named Doug Jenson. He was also arrested, and
    charged for his alleged role in the attack. He's wearing a Q shirt. The motto: trust the plan.


    ROOSE: We have seen lots of incidents of violence and law breaking related to QAnon and inspired by QAnon.
    There have been murders. There have been kidnappings. There have been threats against lawmakers in the name o
    Q.


    COOPER: In March 2019, this man allegedly shot and killed a reputed mafia member in New York City. He told
    his lawyer that the victim was a member of the deep state working to bring down President Trump.


    [22:35:02]


    At his arraignment, he flashed a Q symbol that he drew on his hand. He's been charged with murder and has
    pleaded not guilty.


    Another Q follow caused a standoff near the Hoover Dam in June of 2018, demanding the release of government
    report on Hillary Clinton's emails. He pleaded guilty to a terrorism charge.


    Though some in the Republican Party have spoken out against QAnon, others seem to be trying to appeal to its
    followers.


    In August, the Texas GOP started using the slogan, "We are the storm," the same term as used by Q followers. The
    Texas GOP denies any connection to QAnon but continued to use the term, even after the attack on the capitol.


    Nearly two dozen Republicans across the country have engaged with the QAnon conspiracy ran for office in the
    2020 election.

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    Marjorie Taylor Greene is from Georgia.


    REP. MARJORIE TAYLOR GREENE (R-GA): Marjorie Taylor Greene for Congress.


    Now, Q is a patriot. He's someone that is very much loves his country. And he's on the same page as us. He is very
    pro-Trump, OK. He appears to have connections at the highest levels, all right? He's posted many things that seem
    to verify that he is the real deal.


    COOPER: Lauren Boebert is from Colorado.


    REP. LAUREN BOEBERT (R-CO): Everything I heard of Q, I hope -- I hope that this is real.


    COOPER: Both women are now serving in Congress. Boebert has said she's not a follower of QAnon and Greene
    has tried to distance herself from the group.


    ROOSE: We've had conspiracy theorists in government before, like including former President Trump. I think
    QAnon is different in that it's a movement that has now become violent and insurrectionist, and that has shown it
    can cause real offline damage. We know that many of them don't accept that Joe Biden is the legitimate president.
    We know many of them may never accept that.


    And so, to have millions of people out there following an ideology like that, including elected officials who are
    taking their cues not from their constituents or from, you know, the general public, but from random people
    posting conspiracy theories on internet message boards is pretty worrisome.


    COOPER: And Q still is, at this point, an anonymous message board poster. It's not known who he or she, is or
    even if it's a single person or foreign government attempting to sow division.


    UNIDENTIFIED MALE: Q is everybody. Particularly, Q is a movement, okay? Speak for yourself. It doesn't tell
    you to follow one leader. You can think about what you want with Q. But I follow the facts and I follow
    information, and I think for


    myself as an American.


    ROOSE: The really interesting thing for me, I talk to a lot of QAnon believers who say it doesn't matter who Q is.

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    The identity of this person or even whether it is the same person all along seems to have become secondary in this
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    case. It's sort of -- they're curious who it is, but they would almost rather not know because it allows them to
    preserve the illusion.


    LAFRANCE: The more people I talk to who really deeply believed in it just didn't care. Because it was sort of like
    what if you find out tomorrow it's a hoax and the person who is Q admits it's made up? I heard again and again
    from people who said it doesn't matter who Q is, this is so much bigger than Q.


    COOPER: What is it like to be named by Q? Find out what happened after Q posted this question, who is A.
    Cooper?


    You actually -- you actually believed that I was drinking the blood of children?


    (COMMERCIAL BRAK)


    [22:42:19]


    UNIDENTIFIED MALE: What's going on with Tom Hanks?


    UNIDENTIFIED MALE: You guys want me to explain everything today, huh? Dude, it's all suspicion. That's
    suspicion.


    UNIDENTIFIED MALE: How would you know if Tom Hanks --


    COOPER: Tom Hanks is just one of dozens of celebrities that Q supporters have accused of being part of the so-
    called global cabal. There's no evidence, of course, no reason at all to believe these sick claims. But that doesn't
    matter to believers in the cult of QAnon.


    UNIDENTIFIED MALE: But you have him on your sign. You're calling him a pedophile.


    UNIDENTIFIED MALE: Yes.


    UNIDENTIFIED MALE: But you don't know that --


    UNIDENTIFIED MALE: How did he get to that position of power?

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    COOPER: Some of the celebrities who've been attacked by QAnon have been critical of President Trump in some
    way. Others who are simply thought to be Democrats.


    ROOSE: They will turn these people into enemies and they will viciously harass people. Once they fixate on a
    target, then they all go on social media, they swarm that target. I've been the target of it. It's happened to a lot of
    reporters, political pundits, celebrities, and it's very unpleasant to be on the receiving end of that.


    COOPER: Q first posted about me November 5, 2017, asking the question, who is A. Cooper?


    This came two days after I was on the air reporting about indictments in the Russia investigation. Once mentioned
    by Q, the followers of this conspiracy cult went to work, inventing a bizarre and crazy false story about my life.


    According to Q followers, my mom, Gloria Vanderbilt, was a Satanist. They pointed to this photo taken when I
    was about 6 years old. That Mexican folk art on the wall behind is the Virgin Mary with Christ, but they said it wa
    satanic and the Christ figure was a child being sacrificed.


    They also claimed I had been molested, likely in this empty pool in an old mansion in what Q followers said was
    my mom's house. It's an old Vanderbilt estate in Asheville, North Carolina, that either I or, as far as I know, my
    mom had ever been to.


    Q followers posted this illustration they said was me as a child being abused in that pool. The CIA allegedly
    trained me as a super secret CIA agent infiltrating the media as part of the 1960's era CIA program allegedly called
    Operation Mockingbird.


    The confirmation, according to Q supporters, the necklace my mom wore in that old photo looked like it could be
    from Guatemala. The CIA supported a coup in Guatemala in 1954. I was also called a pedophile, phony flight logs
    purported to be from


    convicted sex offender Jeffrey Epstein's airplane appeared online with my name and dozens of other well-known
    people.


    It's all made up, of course, but QAnon supporters seem to believe it, or at least use it to try to harass me.


    [22:45:05]

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    Jitarth Jadeja was a believer until June 2019.


    Did you at the time believe that Democrat, high level Democrats and celebrities were worshipping Satan, drinking
    the blood of children?


    JADEJA: Anderson, I thought you did that.


    And I would like to apologize for that right now. So, I apologize for thinking that you ate babies. But, yeah, 100
    percent --


    COOPER: But you actually believed that I was drinking the blood of children?


    JADEJA: Yes, I did.


    COOPER: Was it something about me that made you think that?


    JADEJA: Because Q specifically mentioned you, and he mentioned you very early on. He mentioned you by
    name, and from there, if -- he also talked about like, for example, like the family. Yeah, I'm going to be honest, like
    people still talk about that to this day. I -- there were posts about that just four days ago. So, some people thought
    you were a robot?


    COOPER: You really believed this?


    JADEJA: I didn't just believe that. I at one stage believed that QAnon was part of military intelligence, which is
    what he says. But on top of that, the people behind him were actually a group of fifth dimensional, inter-
    dimensional, extraterrestrial, bipedal bird aliens called blue avians. I was so far down in this conspiracy theory
    black hole that I was picking and choosing whatever I wanted to believe in.


    COOPER: I've tried to engage sometimes with people who, you know, contact me. And there's no rational way to,
    you know, to prove you haven't committed a crime.


    JADEJA: There's nothing you can say. Whatever you do or don't do will be more proof of your guilt, right? But th
    thing is, this is not really about you in their mind. This is about them. This is about their internal fears and internal
    projections and their internal lack of control over their own lives.

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    COOPER: Jitarth Jadeja says he no longer believes in QAnon, but there are hundreds of thousands, some even
    suggest millions of others, who are still trusting the plan. ROOSE: I've met QAnon beliefs who are young, who are
    old, who are


    male, who are female, who are white, who are non-white, who are, you know, former Democrats and life-long
    Republicans, rich, poor -- I mean, this is not some fringe movement any more. This is -- this is a mass movement
    of people from every walk of life.


    COOPER: Although people continue to believe in Q, now that President Trump has gone from the White House.
    And nothing Q had promised has come to pass.


    That's next.


    (COMMERCIAL BREAK)


    [22:51:53]


    REPORTER: Do you have any regrets about your presidency?


    COOPER: When President Trump left the White House on January 20th, many QAnon beliefs were stunned.
    Nothing they had been promised had come to pass.


    "We were promised arrests, exposures, military regime, classified documents, where is it?" one online message
    read.


    Another wrote, "I'm scared, feeling sick to my stomach. But I'm holding the line still."


    NEUMANN: It was phenomenal to watch what was happening online. There was a complete meltdown of QAnon
    followers. There was this belief that while they weren't able to stop the election from being certified by the
    Congress, what was going to happen next was President Trump was going to declare martial law at the last minute
    he was going to issue a national emergency broadcast alert, that electricity was likely to go down, water was likely
    to go down, so everybody needed to stockpile food and water and be able to survive in the winter for a couple of
    weeks.


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    And then president Trump would rightly take his place for his second term as president, and there would be no
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    President Biden.


    JOE BIDEN, PRESIDENT OF THE UNITED STATES: I, Joseph Robinette Biden, Jr., do solemnly swear.


    COOPER: But as we've seen many QAnon followers in the past, false predictions don't deter them. The conspiracy
    cult beliefs simply evolve. Now some claim that Trump is still secretly running the government. One 4chan user
    wrote, anything that happens in the next four years is actually President Trump's doing. Others are suggesting
    President Biden might actually be working for Q.


    ROOSE: A lot will maintain that they just misinterpreted the signals. The real inauguration is going to happen in
    March instead of January. Or that, you know, Joe Biden is actually one of the good guys. Like, did Trump use
    Biden to help take down the global cabal? They're looking for all these symbols. Like Joe Biden's first day in
    office, he signed 17 consecutive orders.


    Seventeen is the magic Q number. And so, some of them interpreted that as a sign that he was secretly on their
    side.


    COOPER: There's some people that believe that Joe Biden is now part of the plan?


    JADEJA: Yeah.


    COOPER: He's actually working --


    JADEJA: Yes.


    COOPER: -- with Q?


    JADEJA: Yep. And that was the plan all along.


    COOPER: Former QAnon belief said he's seen other followers give up their online postings. And now social
    media companies decided to crack down.


    Twitter says it's banned more than 70,000 accounts for promoting QAnon. Facebook says since August, they've
    removed more than 18,000 profiles and more than 27,000 Instagram accounts for violating its policies against

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    QAnon.
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    But QAnon is still out there, still a conspiracy cult with die hard followers looking for a sense of belonging and a
    way to take action. Some experts believe Q followers may migrate to other fringe extremist groups.


    NEUMANN: Here's the dangerous part. The white supremacists and the anti-government extremists started to
    realize that this was likely to happen after January 6.


    [22:55:05]


    They weren't able to stop Biden from being approved by the Congress and so there was this disheartening moment
    for many of Trump supporters, as well as QAnon supporters.


    So you started to see the white supremacists come up with recruitment techniques and they started posting on their
    sites to educate other white supremacists how to approach a disheartened QAnon adherent, how to approach the
    disheartened Trump supporter.


    They have to feed their grievance, make sure that they stay angry, make sure that they put blame on the system, on
    the government, on Trump itself, so they're looking to recruit.


    ROOSE: The hard thing about leaving QAnon is once you started to see the world in the way that QAnon
    followers see the world, as a series of lies being told by elites, it becomes very hard for them to trust in sort of
    mainstream authorities ever again. They sort of have this idea that the knowledge that they're being fed is not real
    and that they have to go looking for their own sources of truth. COOPER: There have always been conspiracy
    theories, but never before


    have they been able to spread so quickly. Just a few clicks can take you down a rabbit hole with deranged fantasies
    and dangerous beliefs. What QAnon shows us, even the most ludicrous and disturbing ideas can find an audience
    online. And in the real world, the result can be tragic.


    UNIDENTIFIED MALE: I'm willing to die for my country and my family and my friends! There will be (ph)
    nothing else!


    UNIDENTIFIED MALE: You ain't going to win!


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    UNIDENTIFIED MALE: You don't want any of (ph) this.
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